Case 2:05-cv-00192-GZS Document 21 Filed 03/31/06 Page 1 of 1                   PageID #: 105




                           UNITED STATES DISTRICT COURT
                                   District of Maine


IAN M. SUZMAN,                                )
        Plaintiff                             )
                                              )
v.                                            )
                                              )     Civil No. 05-192-P-S
ADOLPH CRISP, et al.,                         )
      Defendants                              )
                                              )
                                              )
                                              )


                        ORDER AFFIRMING THE
             RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


       The United States Magistrate Judge filed with the Court on March 1, 2006, her
Recommended Decision (Docket No. 16). Defendant Rayella Booton-Brown filed her Objection to
the Recommended Decision (Docket No. 17) on March 14, 2006. Plaintiff filed his Response to
Ojection (Docket No. 20) on March 28, 2006.
       I have reviewed and considered the Magistrate Judge's Recommended Decision, together
with the entire record; I have made a de novo determination of all matters adjudicated by the
Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United
States Magistrate Judge for the reasons set forth in her Recommended Decision, and determine that
no further proceeding is necessary.
       1.      It is therefore ORDERED that the Recommended Decision of the Magistrate Judge
               (Docket No. 16) is AFFIRMED.

       2.     Defendants’ Pro Se Motion to Dismiss or Transfer of Action on Grounds of Improper
              Venue (Docket No. 8) is DENIED.

                                                    /s/ George Z. Singal          ___
                                                    Chief U.S. District Judge
Dated: March 31, 2006.
